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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF INDIANA
                                HAMMOND DIVISION

 MITCHELL TAEBEL, also known as
 Mitch Taebel,

               Plaintiff,

                      v.                          CAUSE NO. 2:23-cv-00258-HAB-SLC

 TAYLOR SWIFT,

               Defendant.

                                          ORDER

       Mitchell Taebel, a prisoner without a lawyer, filed this lawsuit, but did not pay

the filing fee or file an in forma pauperis motion. If he wants to continue this lawsuit, he

must resolve his filing fee status either by paying the filing fee or filing an in forma

pauperis motion with a copy of his inmate trust fund ledger detailing his transactions

for the past six months.

       For these reasons, the clerk is DIRECTED to place this cause number on a blank

AO 240 (Rev. 7/10) (INND Rev. 8/16) Prisoner Motion to Proceed In Forma

Pauperis and send it to Mitchell Taebel who is GRANTED until August 31, 2023, to

respond to this Order and CAUTIONED if he does not respond by the deadline, this

case may be dismissed without further notice.

       SO ORDERED. Entered this 27th day of July 2023.

                                                  /s/ Susan Collins
                                                  Susan Collins
                                                  United States Magistrate Judge
